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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

 

TAMPA DIVISION
UWANA DAVIS,
CAsE No.:
Plain¢ifr,
v. ` JURY TRIAL DEMAN;)ED
AMERIMARK DIRECT, LLC,
Defendant.
/
COMPLAINT

Piaintiff, Uwana -Davis, by and through the undersigned ccunsel, files suit against

Ameril\/Iark Direct, LLC, and states as fclloWs:
NATURE OF ACTION

l. Piaintiff brings this action pursuant to Fla. Stat. § 559.55 et Seq., the Florida
Consumer Collection Practices Act (“FCCPA”) and 47 U.S.C. § 227 et seq., the Telephcne
Consumer Prctection Act (“TCPA”). Fundarnentally, this case concerns the Dcfendant's refusal tc
respect Plaintiff‘s personal iegai rights in its attempts tc collect an alleged debt.

JURISDICTION AND VENUE

2. Federal subject matter jurisdiction exists pursuant to 28 U.S.C. § 1331, as Plaintiff
brings a claim under the TCPA, 47 U.S.C. § 227 et Seq. Supplernental jurisdiction exists over the
state law claims pursuant tc 28 U.S.C. § 1367.

3. Venue is proper in this district pursuant to 28 U.S.C. § 1391(3) because a substantial
part of the events cr omissions giving rise to the claims and injuries occurred in the Middie District

of Ficrida. Plaintiff suffered the injuries in Pinellas Ccunty, Florida.

 

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PARTIES

4. Plaintifl", vaana Davis (“Mr. Davis” or “Plaintift”), is a natural person Who resides
in Pinellas, Florida. Plaintit`f is also a “consumer” as that term is defined by Fla. Stat. § 559.55(8),
With a “consumer debt” under Fla Stat. § 559.55(6), and is a “person” under 47 U.S.C. § 227.

5. Defendant, AmeriMark Direct, LLC, (“Ameril\/larl<” or “Defendant”), is organized
in DelaWare, does business in the State of Florida, is a “creditor” as that term is delined by Fla.
Stat. § 559.55(5), and is a “person” under 47 U.S.C. § 227.

6. Defendant, in the conduct of its business, used one or more instrumentalities oi"
interstate commerce or the mails, including, Without limitation, electronic communication to
communicate With Plaintiff.

7. The conduct of Defendant Was authorized, approved and/or ratified by one or more
ochers, directors, or managers of Defendant, and/or they knew in advance that the Defendant Was
likely to conduct themselves and allowed them to so act With conscious disregard cf the rights and
safety of others. The agent(s) or employee(s) of Defendant acted Within the course and scope of
such agency cr employment and acted With the consent, permission and authorization of
Defendant.

FACTUAL ALLE GATIONS

8. Beginning in approximately April 2015, Mr. Davis began to receive collection calls
from Ameril\/lark to his cell phone attempting to collect a debt (the “Alleged Debt”).

9. The Alleged Debt resulted from purchases from an online retailer that Mr. Davis
used for personal and household purposes, and is therefore a “debt” as that term is defined by Fla.

stat § 559.55(6).

 

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lO. In April 2015, l\/lr. Davis answered a call from Ameril\/lari< on his cell phone and
told AmeriMark to stop calling him regarding the Alleged Debt.

ll. Notwithstanding Mr. Davis’ cease and desist request, Ameril\/lark continued to
make one to five collection calls to Mr. Davis’ cell phone each day, one to four days each week.

l2. Mr. Davis knew it was Ameril\/larl<; Was calling because when Mr. Davis did not
answer the phone, Ameril\/lark left pre-recorded voicemails on his cell phone identifying the calls
as from AmeriMark.

l3. Ameril\/lark placed the calls to Mr. Davis’ cell phone using an automatic telephone
dialing system. This Was evidenced by the fact that When Mr. Davis answered a call from
AmeriMarl< to his cell phone, he heard beeps and pauses before a live representative appeared on
the line and by the fact that Ameril\/lark left pre-recorded messages on Mr. Davis’ cell phone

l4. Despite l\/Ir. Davis’ cease and desist request in April 2015, Ameril\/Iark made
collection calls to Mr. Davis’ cell through luly 2017.

lS. Ameril\/Iarl<’s conduct constitutes violations of the FCCPA and the TCPA.

COUNT I

VIOLATIONS OF THE FCCPA BY DEFENDANT AMERIMARK

 

l6. This is an action against Defendant for violation ofFla. Stat. § 559.55 er Seq.

l7. Plaintiff re-alleges and incorporates paragraphs l through lS, as if fully set forth
herein.

18. Defendant communicated, directly and/or indirectly, certain information to Plaintiff

as set forth above, Which constitutes “comrnunication” as defined by Fla. Stat. § 559.55(2).

 

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19. Fla. Stat. § 559.72 provides, in pertinent part:
ln collecting consumer debts, no person shall:
(7) Willfully communicate with the debtor or any member of her or his
family with such frequency as can reasonably be expected to harass the
debtor or her or his family, or willfully engage in other conduct which can
reasonably be expected to abuse or harass the debtor or any member of her

or his family.

(9) assert the existence of some other legal right when such person
knows that the right does not exist.

20. Through its conduct, described above, Defendant directly and through its agents
violated the above sections of the FCCPA.

21. All conditions precedent to this action have occurred, have been satisfied, or have
been waived.

22. Pursuant to Fla. Stat. § 559.77(2), as a result of the above violations of the FCCPA,
Defendant is liable to Plaintiff for actual damages, statutory damages, and reasonable attorney’s
fees and costs.

23. Based upon the willful, intentional, knowing, malicious, repetitive, and continuous
conduct of Defendant as described herein, Plaintiff is also entitled to an award of punitive damages
in accordance with Fla. Stat. §§ 559.77 and 768.72.

24. Each communication, made in violation of the FCCPA is a separate justiciable issue
entitled to adjudication on its individual merits and is eligible for an award of damages Pursuant
to Federal Rule of Civil Procedure lU(b), each violation has been consolidated into a single count

to promote clarity.

 

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WHEREFORE, Plaintiff respectfully requests this Court enter a judgment against
Defendant, finding that Defendant violated the FCCPA, awarding Plaintiff actual damages,
statutory damages, punitive damages, attorneys’ fees and costs pursuant to Fla. Stat. § 559.77(2),
and awarding Plaintiff any and all such further relief as is deemed necessary and appropriate

COUNT II
VIOLATIONS OF THE TCPA BY DEFENDANT AMERIMARK

25. This is an action against Defendant for violations of the TCPA, 47 U.S.C. § 227 et
Seq. l

26. Plaintiffre-alleges and reincorporates paragraphs l through 15, as if fully set forth
herein

27. Defendant, in the conduct of its business, used an automatic telephone dialing
System defined by 47 U.S.C. § 227(a)(l)(A) to communicate with Plaintiff.

28. Section 47 U.S.C. § 227(b)(l)(A)(iii) provides in pertinent part:

lt shall be unlawful for any person within the United States --
(A) to make any call (other than a call made for emergency purposes or 7
made with the prior express consent of the called party) using any automatic
telephone system or an artificial or prerecorded voice ~-
(iii) to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for which the called party is
charged for the call;

29. Defendant violated 47 U.S.C. § 227(b)(l)(A)(iii) by placing calls to Plaintiffs cell
phone using an automatic telephone dialing system Without Plaintiffs express consent

30. Defendant willfully, knowingly, and intentionally made multiple calls to Plaintiff‘s

cell phone utilizing an automatic telephone dialing system after Plaintiff told Defendant that

Defendant did not have permission to-call Plaintiff‘s cell phone.

 

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3l. All conditions precedent to this action have occurred, have been satisfied, or have
been waived

32. As a result of the above violation of the TCPA, Defendant is liable to Plaintiff for
actual damages, or the amount of $500.00 as damages for each violation, whichever is greater,
pursuant to the TCPA, 47 U.S.C. § 227(b)(3)(B).

3 3. Based upon the willful, knowing,` and intentional conduct ofDefendant as described
above, Plaintiff is also entitled to an increase in the amount of the award to treble the damages
amount available under 47 U.S.C. § 227(b)(3)(B), in accordance with 47 U.S.C. § 227(b)(3).

WHEREFORE, Plaintiff respectfully requests this Court enter a judgment against
Defendant (ll finding that Defendant violated the TCPA; (2) awarding Plaintiff actual damages
or the amount of $500.00 in damages for each violation, whichever is greater; (3) finding that
Defendant Willfully, knowingly, and intentionally violated the TCPA and increasing the damages
award to treble the amount of damages otherwise to be entered as a judgment; and (4) awarding

Plaintiff any and all such further relief as is deemed necessary and appropriate

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DEMANI) FOR JURY TRIAL

Plaintiff is entitled to and hereby respectfully demands a trial by jury. U.S. Const. Amend.

7 and Fed. R. Civ. P. 38.

Dated: August 3l, 2017

Respectfully Submitted,

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